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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                 Plaintiff,                          )
                                                       )
10          v.                                         ) 2:12-CR-0004-APG-(GWF)
                                                       )
11 JERMAINE SMITH,                                     )
                                                       )
12                 Defendant.                          )
13                              AMENDED FINAL ORDER OF FORFEITURE
14           The United States District Court for the District of Nevada entered a Preliminary Order of

15 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 18, United States Code, Section

16 1963(a)(1), (a)(2), (a)(3), and (m) based upon the plea of guilty by defendant JERMAINE SMITH to

17 the criminal offense, forfeiting the property and imposing an in personam criminal forfeiture money

18 judgment set forth in the Amended Bill of Particulars and the Forfeiture Allegation of the Criminal

19 Indictment and shown by the United States to have the requisite nexus to the offense to which

20 defendant JERMAINE SMITH pled guilty. Criminal Indictment, ECF No. 1; Amended Bill of

21 Particulars, ECF No. 643; Change of Plea Minutes, ECF No. 836; Plea Agreement, ECF No. 838;

22 Preliminary Order of Forfeiture, ECF No. 837.

23           The United States published the notice of forfeiture in accordance with the law via the official

24 government internet forfeiture site, www.forfeiture.gov, consecutively from January 14, 2015, through

25 February 12, 2015, notifying all potential third parties; and notified known third parties by Federal
26 Express, of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 924.
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 1           On January 14, 2015, the United States Attorney’s Office served American Express, World

 2 Financial Center, 200 Vesey Street, New York, NY 10285 with copies of the Preliminary Order of

 3 Forfeiture and the Notice through Federal Express. Notice of Filing Service of Process - Federal

 4 Express, ECF No. 890.

 5           On January 14, 2015, the United States Attorney’s Office served Discover Financial Services,

 6 c/o Michael Cassell, 9533 Tournament Canyon, Las Vegas, NV 89144 with copies of the Preliminary

 7 Order of Forfeiture and the Notice through Federal Express. Notice of Filing Service of Process -

 8 Federal Express, ECF No. 890.

 9           On January 14, 2015, the United States Attorney’s Office served MasterCard, 2000 Purchase

10 Street, Purchase, NY 10577 with copies of the Preliminary Order of Forfeiture and the Notice through

11 Federal Express. Notice of Filing Service of Process - Federal Express, ECF No. 890.

12           On January 14, 2015, the United States Attorney’s Office served Visa Inc., 900 Metro Center

13 Blvd., Foster City, CA 94404 with copies of the Preliminary Order of Forfeiture and the Notice

14 through Federal Express. Notice of Filing Service of Process - Federal Express, ECF No. 890.

15           This Court finds no petition was filed herein by or on behalf of any person or entity and the

16 time for filing such petitions and claims has expired.

17           This Court finds no petitions are pending with regard to the assets named herein and the time

18 for presenting such petitions has expired.

19           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

20 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

21 United States of America, and that the United States recover from JERMAINE SMITH the criminal

22 forfeiture money judgment in the amount of $50,893,166.35 in United States Currency, pursuant to

23 Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(c)(2); Title 18, United States Code,

24 Section 1963(a)(1), (a)(2), (a)(3), (l)(7), and (m) and shall be disposed of according to law:
25                      1)   a Gateway laptop computer, bearing serial number T3B73P1006170, seized

26                           from Raji Aziz on March 14, 2011;

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 1               2)   an Apple iPad 16 GB silver, model A1396, bearing serial number

 2                    DLXFW1DLDFJ1, seized from Irina Bolnova on March 15, 2012;

 3               3)   an Acer Aspire One 522 laptop computer, bearing serial number

 4                    LUSES0D0101014763B16-01, seized from Maceo Boozer on March 15,

 5                    2012;

 6               4)   a Coby laptop, bearing serial number N1023X1005S000497B, seized from

 7                    Maceo Boozer on July 9, 2012;

 8               5)   an HP laptop, bearing serial number CNF0208QNY, seized from Maceo

 9                    Boozer on July 9, 2012;

10               6)   a Seagate USB drive, bearing serial number NA02E6VK, seized from Maceo

11                    Boozer on July 9, 2012;

12               7)   a Dell laptop computer, bearing serial number G4CJLL1, seized from

13                    Duvaughn Butler on March 1, 2011;

14               8)   an HP desktop computer, Datacode SM number R08510000460630, seized

15                    from Duvaughn Butler on March 1, 2011;

16               9)   a Mastercard $100 gift card, bearing card number xxxxxxxxxxxx1923, seized

17                    from Duvaughn Butler on March 1, 2011;

18               10) a Vanilla $100 Mastercard gift card, bearing card number

19                    xxxxxxxxxxxx7257, seized from Duvaughn Butler on March 1, 2011;

20               11) an iPhone 3, black, bearing FCC ID number BCGA1303B, seized from

21                    Duvaughn Butler on March 1, 2011;

22               12) a Time Capsule 802.11N WiFi hard drive, bearing serial number

23                    C86H6722DM73, seized from Omar Butt on March 15, 2012;

24               13) a SanDisk memory card, 8 GB, seized from Omar Butt on March 15, 2012;

25               14) a SanDisk memory card, 16 GB, seized from Omar Butt on March 15, 2012;

26               15) a SanDisk memory card, 32 GB, seized from Omar Butt on March 15, 2012;

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 1               16) a Canon Power Shot camera, red, model 50780, seized from Omar Butt on

 2                    March 15, 2012;

 3               17) an Apple iPhone 4, bearing serial number 579CE2380A, seized from Omar

 4                    Butt on March 15, 2012;

 5               18) an AT&T cell phone, black, bearing serial number Q4V7NB1180518074,

 6                    seized from Omar Butt on March 15, 2012;

 7               19) an AT&T cell phone, black, bearing serial number Q4V7NB1180520439,

 8                    seized from Omar Butt on March 15, 2012;

 9               20) a Motorola cell phone, black, bearing serial number H31LJGTFJT, seized

10                    from Omar Butt on March 15, 2012;

11               21) an iPhone 3, 16 GB, black, model A1241, bearing FCC ID number

12                    BCGA1241, seized from Omar Butt on March 15, 2012;\

13               22) a MacBook Pro, bearing serial number CO2GJ0DW47, seized from Omar

14                    Butt on March 15, 2012;

15               23) an iPhone, 8 GB, bearing serial number 8174ETWH8, seized from Omar Butt

16                    on March 15, 2012;

17               24) an iPhone 4, black, model A1387, bearing FCC ID number BCGE2430A,

18                    seized from Omar Butt on March 15, 2012;

19               25) an Apple Airport hard disk, bearing serial number 6F9394ER2UP, seized

20                    from Omar Butt on March 15, 2012;

21               26) a Canon Pixma printer MP 600 with cable cords, seized from Omar Butt on

22                    March 15, 2012;

23               27) a Datacard 1501 printer, bearing serial number 7464, seized from Omar Butt

24                    on March 15, 2012;

25               28) a Power Printer ID Card 088025 Fargo Hi-Def printer, bearing serial number

26                    A3490223, seized from Omar Butt on March 15, 2012;

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 1               29) a WD hard drive, bearing serial number WCAPD1154606, seized from Omar

 2                    Butt on March 15, 2012;

 3               30) an AcomData HD drive, bearing serial number E43125, seized from Omar

 4                    Butt on March 15, 2012;

 5               31) a DNY SD card, 4 GB, seized from Omar Butt on March 15, 2012;

 6               32) a DNY SD card, 8 GB, seized from Omar Butt on March 15, 2012;

 7               33) a Hitachi external hard drive, bearing serial number PAG52P3A, seized from

 8                    Omar Butt on March 15, 2012;

 9               34) an Apple TV, bearing serial number YM7240QRYR4, seized from Omar Butt

10                    on March 15, 2012;

11               35) a Dell laptop Latitude V300, bearing serial number

12                    CN03Y6453652138B0312, seized from Omar Butt on March 15, 2012;

13               36) a Sigma DP2 camera, bearing serial number 1011595, seized from Omar Butt

14                    on March 15, 2012;

15               37) an Acer laptop, bearing serial number LXE820X0258200F2792000, seized

16                    from Omar Butt on March 15, 2012;

17               38) a PlayStation 3 D 53, bearing serial number CG158070191CECH2001A,

18                    seized from Omar Butt on March 15, 2012;

19               39) an Xbox 360 2001 A, bearing serial number 152319705205, seized from

20                    Omar Butt on March 15, 2012;

21               40) a PC tower, white, bearing serial number 0016318606, seized from Omar Butt

22                    on March 15, 2012;

23               41) a PC tower, white, HP CD-Writer 9100 series (CD-ROM drive), seized from

24                    Omar Butt on March 15, 2012;

25               42) a PC tower, white, bearing datacard number PH411423, seized from Omar

26                    Butt on March 15, 2012;

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 1               43) a PC tower, white, bearing serial number DP000821120164028AJK324, (CD-

 2                    ROM drive), seized from Omar Butt on March 15, 2012;

 3               44) a PC tower, white, bearing serial number 810F48069A30, (modem), seized

 4                    from Omar Butt on March 15, 2012;

 5               45) a Canon DSLR 126251 SW11017, bearing serial number 2771201017, seized

 6                    from Omar Butt on March 15, 2012;

 7               46) a Nuvarel wireless antenna, Virgin Mobile, black, ESN 09108460367, seized

 8                    from Omar Butt on March 15, 2012;

 9               47) an ATM machine Nextran Com Net 3000, bearing identification number

10                    4518420355271402, seized from Omar Butt on March 15, 2012;

11               48) a hand truck, Milwaukee, black, model number 60138, seized from Omar Butt

12                    on March 15, 2012;

13               49) an Epson printer Stylus NX415, seized from David Camez on May 27, 2010;

14               50) an HP Photosmart printer C4740, seized from David Camez on May 27, 2010;

15               51) a PVC card embosser ECard, seized from David Camez on May 27, 2010;

16               52) a PVC card embosser Wonder, seized from David Camez on May 27, 2010;

17               53) a hot stamping/tipper machine, seized from David Camez on May 27, 2010;

18               54) a Dell XPS 420 with monitor, bearing serial number 2V4Z9G1, seized from

19                    David Camez on May 27, 2010;

20               55) a Playstation 3, bearing serial number CF347430751-CECHP01, seized from

21                    David Camez on May 27, 2010;

22               56) a Gateway laptop 450SX4, bearing serial number 0026868574, seized from

23                    David Camez on May 27, 2010;

24               57) a Sony Vaio with power cord, bearing serial number C602H3NQ, seized from

25                    David Camez on May 27, 2010;

26               58) a credit card skimming device, seized from David Camez on May 27, 2010;

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 1               59) a magnetic strip card reader and writer, seized from David Camez on May 27,

 2                    2010;

 3               60) a soldering iron, seized from David Camez on May 27, 2010;

 4               61) a lock pick kit, seized from David Camez on May 27, 2010;

 5               62) eleven (11) Motorola TracFones, bearing serial numbers H62LJW5D7T,

 6                    H62LJW459P, H62LJW67NZ, H62LJW5D2H, H62LJW4536,

 7                    H62LJW5D4F, H62LJW459L, H62LJW39BN, H62LJW5D2Q,

 8                    H62LLY3735, and H62LJJDN3L, seized from Heather Dale on March 20,

 9                    2012;

10               63) ten (10) Verizon Samsung cell phones, bearing serial numbers

11                    A000001756COAF, A000001756FE63, A000001756E6C5,

12                    A000001756C28A, A000001756E6B8, A0000017569E83, A0000017581301,

13                    A0000017581F1B, A0000017525F292, and A00000175252314, seized from

14                    Heather Dale on March 20, 2012;

15               64) three (3) LG TracFones, bearing serial numbers 903CQNL204871,

16                    903CQTB243385, and 904CQLH354776, seized from Heather Dale on March

17                    20, 2012;

18               65) an SD card, 2 GB, bearing serial number 518532, seized from Shiyang Gou on

19                    March 15, 2012;

20               66) an IBM IGB flash drive, seized from Shiyang Gou on March 15, 2012;

21               67) a Cruzer mini 256 MB flash drive, seized from Shiyang Gou on March 15,

22                    2012;

23               68) a memory stick adapter with memory card, seized from Shiyang Gou on

24                    March 15, 2012;

25               69) five (5) ScanDisk memory cards, seized from Shiyang Gou on March 15,

26                    2012;

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 1                 70) two (2) Sony Memory Stick Pro Duo, seized from Shiyang Gou on March 15,

 2                      2012;

 3                 71) a Samsung phone, bearing serial number R3YXA56711T, seized from

 4                      Shiyang Gou on March 15, 2012;

 5                 72) an LG phone, bearing serial number 811KPT M022569, seized from Shiyang

 6                      Gou on March 15, 2012;

 7                 73) a Nokia cell phone, bearing serial number 661ABRM520, seized from

 8                      Shiyang Gou on March 15, 2012;

 9                 74) a Nokia cell phone, bearing serial number 661URM604, seized from Shiyang

10                      Gou on March 15, 2012;

11                 75) a Nokia cell phone, bearing serial number 661ABRM121, seized from

12                      Shiyang Gou on March 15, 2012;

13                 76) an HP computer, bearing serial number MXM453067P, seized from Shiyang

14                      Gou on March 15, 2012;

15                 77) an iPod 32 GB, bearing serial number C3VDKMBPDCP9, seized from

16                      Shiyang Gou on March 15, 2012;

17                 78) an HP PSC1315 All in One Printer, bearing serial number CN48KB201J,

18                      seized from Shiyang Gou on March 15, 2012;

19                 79) an SD card 8 GB, bearing serial number 35254221, seized from Shiyang Gou

20                      on March 15, 2012;

21                 80) an 8 GB SD card, bearing serial number 3140624068, seized from Shiyang

22                      Gou on March 15, 2012;

23                 81) a gold flash drive, seized from Shiyang Gou on March 15, 2012;

24                 82) a WiFly City wireless USB adapter, bearing serial number

25                      8DEC04JJ2482873, seized from Shiyang Gou on March 15, 2012;

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 1               83) an iPod 32 GB, bearing serial number C3RDLFMS5DCPN, seized from

 2                    Shiyang Gou on March 15, 2012;

 3               84) a Wii, bearing serial number LU83300527, seized from Shiyang Gou on

 4                    March 15, 2012;

 5               85) a Zotac Model Mag HDND01, bearing serial number G111911302229, with

 6                    Logitech USB drive, seized from Shiyang Gou on March 15, 2012;

 7               86) two (2) iPod 8 GB, bearing serial numbers IB0064Y075J and

 8                    DKPDAOFFDCP7, seized from Shiyang Gou on March 15, 2012;

 9               87) a Samsung cell phone, model SCHU350, bearing serial number

10                    0001D60CC32, seized from Shiyang Gou on March 15, 2012;

11               88) a Dell Inspiron laptop, bearing serial number 9JH8QP1, seized from Shiyang

12                    Gou on March 15, 2012;

13               89) a Sony Vaio, model PC671312L, seized from Shiyang Gou on March 15,

14                    2012;

15               90) a Clear 4G Mobile Hotspot, bearing serial number 1FM00114730, seized from

16                    Shiyang Gou on March 15, 2012;

17               91) a Totu cell phone T158, bearing serial number 357458040092990, seized from

18                    Shiyang Gou on March 15, 2012;

19               92) three (3) flash drives, seized from Shiyang Gou on March 15, 2012;

20               93) a Sony memory stick 4 GB, F925L2L, seized from Shiyang Gou on March 15,

21                    2012;

22               94) a SanDisk extreme 4 GB, seized from Shiyang Gou on March 15, 2012;

23               95) two (2) T-Mobile SIM cards, seized from Shiyang Gou on March 15, 2012;

24               96) an HP Office Jet 6500A printer, bearing serial number CN11C1241Y, seized

25                    from Shiyang Gou on March 15, 2012;

26               97) an HP monitor, CNCO1SPW, seized from Shiyang Gou on March 15, 2012;

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 1                98) a Sony PSP, bearing serial number AG100870541, seized from Shiyang Gou

 2                     on March 15, 2012;

 3                99) a T-Mobile Samsung S3600 cell phone, bearing serial number S36006SMH,

 4                     seized from Shiyang Gou on March 15, 2012;

 5                100) a Scientific Atlantic 2203C modem, bearing serial number 218063549, seized

 6                     from Shiyang Gou on March 15, 2012;

 7                101) a Netgear wireless router, model WNR2000, bearing serial number

 8                     IXL38C5T02FB4, seized from Shiyang Gou on March 15, 2012;

 9                102) an SD card 4 GB, seized from Shiyang Gou on March 15, 2012;

10                103) a 56K PCI modem, bearing serial number 200V23Y0087077, seized from

11                     Shiyang Gou on March 15, 2012;

12                104) a Britannica SD card, MVO32RMMC, seized from Shiyang Gou on March

13                     15, 2012;

14                105) a PD Talk GPS with SD card, PD9083000304, seized from Shiyang Gou on

15                     March 15, 2012;

16                106) an HP desktop computer, bearing serial number P6813W, seized from

17                     Shiyang Gou on March 15, 2012;

18                107) an American Express gift card, number xxxxxxxxxxx0288, seized from

19                     Cameron Harrison on November 24, 2010;

20                108) a Walmart reloadable card, number xxxxxxxxxxxx8377, seized from Cameron

21                     Harrison on November 24, 2010;

22                109) an LG cell phone with power cord, model LG220CM, bearing serial number

23                     004CYVU1179431, seized from Cameron Harrison on November 24, 2010;

24                110) a Garmin NUVI 205W with power cord, bearing serial number 1UR254730,

25                     seized from Cameron Harrison on November 24, 2010;

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 1               111) a Pep Boys gift card, number xxxxxxxxxxxxxxx8899, seized from Cameron

 2                    Harrison on November 22, 2010;

 3               112) a Walmart gift card, number xxxxxxxxxxxxxxx7484, seized from Cameron

 4                    Harrison on November 22, 2010;

 5               113) an Apple iPad 64 GB, bearing serial number GB0409R7ETV, seized from

 6                    Cameron Harrison on November 24, 2010;

 7               114) an HP Pavilion laptop, model DV5-1160, bearing serial number

 8                    CNF8383JN0, seized from Cameron Harrison on November 24, 2010;

 9               115) a Rocketfish 2.5 USB hard drive, model RFHD25, bearing serial number

10                    NS92T6125T8K, seized from Cameron Harrison on November 24, 2010;

11               116) an HP Presario F700 laptop, bearing serial number CNF7510SVZ, seized

12                    from Robert Kephart on March 15, 2012;

13               117) an Aspire One Acer laptop black, bearing serial number

14                    LUS670D06193426AC31601, seized from Robert Kephart on March 15,

15                    2012;

16               118) a Targus laptop bag containing a Dell Adamo laptop, bearing serial number

17                    852FWK1, seized from Robert Kephart on March 15, 2012;

18               119) a Smart Disk HDD, bearing serial number 1H7Y23, seized from Robert

19                    Kephart on March 15, 2012;

20               120) a Virgin thumb drive, seized from Robert Kephart on March 15, 2012;

21               121) an Attache thumb drive, black/red, seized from Robert Kephart on March 15,

22                    2012;

23               122) an iPad, model A1396, white, bearing serial number DN6GPAB9DKNY,

24                    seized from Robert Kephart on March 15, 2012;

25               123) an Apple MacBook Air, model A1370, with black case, bearing serial number

26                    C02DW6ZPDDQX, seized from Robert Kephart on March 15, 2012;

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 1               124) an Apple iPhone, white, model A1387, seized from Robert Kephart on March

 2                    15, 2012;

 3               125) a MacBook Air Super Drive, model A1379, bearing serial number

 4                    C02FC8PWDJ5M, seized from Robert Kephart on March 15, 2012;

 5               126) a generic computer tower, model 8E-TENL1-UGB, bearing serial number

 6                    W10330010445, seized from Alexander Kostyukov on March 15, 2012;

 7               127) an external hard drive enclosure, blue, Simpletech 250 GB, bearing serial

 8                    number 0712544250100670, seized from Alexander Kostyukov on March 15,

 9                    2012;

10               128) two (2) T-Mobile Nokia cell phones (unopened), bearing serial numbers

11                    866012569007679335 and 866012569005010038, seized from Alexander

12                    Kostyukov on March 15, 2012;

13               129) three (3) T-Mobile Nokia cell phones, model 1616-2C, seized from Alexander

14                    Kostyukov on March 15, 2012;

15               130) a Samsung AT&T cell phone, model SGH-A107, bearing serial number

16                    RPHB69702BZ, seized from Alexander Kostyukov on March 15, 2012;

17               131) an Apple iPhone 4S 16 GB white, model A1387, bearing serial number

18                    C38GTY8KDTD1, seized from Alexander Kostyukov on March 15, 2012;

19               132) an Apple iPhone 4S 16 GB white, model A1387, bearing serial number

20                    84049D1MA4S, seized from Alexander Kostyukov on March 15, 2012;

21               133) three (3) yellow and black SIM cards, seized from Alexander Kostyukov on

22                    March 15, 2012;

23               134) a T-Mobile SIM card, seized from Alexander Kostyukov on March 15, 2012;

24               135) an AT&T SIM card, seized from Alexander Kostyukov on March 15, 2012;

25               136) a Kingston 4 GB white and purple thumb drive, seized from Alexander

26                    Kostyukov on March 15, 2012;

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 1               137) a thumb drive, green, bearing serial number 28981F, seized from Alexander

 2                    Kostyukov on March 15, 2012;

 3               138) a PQ1 4 GB blue SD memory card, bearing serial number

 4                    MMAGF04GWDCA-DB, seized from Alexander Kostyukov on March 15,

 5                    2012;

 6               139) a Nikon D7000 digital camera with 32 GB SanDisk memory card inside,

 7                    seized from Alexander Kostyukov on March 15, 2012;

 8               140) a Nikon CoolPix digital camera, black, model S52, bearing serial number

 9                    30505916, seized from Alexander Kostyukov on March 15, 2012;

10               141) a Sony Cyber Shot 8.1 MP digital camera, black, model DSC-T100, bearing

11                    serial number 1572082, seized from Alexander Kostyukov on March 15,

12                    2012;

13               142) a Nikon camera lens, (70-300MM), bearing serial number US2762077, seized

14                    from Alexander Kostyukov on March 15, 2012;

15               143) a Nikon camera lens, (50MM), bearing serial number US628937, seized from

16                    Alexander Kostyukov on March 15, 2012;

17               144) a Tokina Aspherical camera lens, bearing serial number 82C7660, seized from

18                    Alexander Kostyukov on March 15, 2012;

19               145) two (2) Nikon lens covers, seized from Alexander Kostyukov on March 15,

20                    2012;

21               146) a Nikon camera flash attachment, speedlight SB900, bearing serial number

22                    2461186, seized from Alexander Kostyukov on March 15, 2012;

23               147) a Western Union $500.00 money order with blank payee field, number xx-

24                    xxxxx0260, seized from Alexander Kostyukov on March 15, 2012;

25               148) an Apple MacBook Pro, silver, model A1278, bearing serial number

26                    W8033T2BATM, seized from Alexander Kostyukov on March 15, 2012;

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 1               149) a SanDisk thumb drive, seized from Thomas Lamb on May 2, 2011;

 2               150) a South Point Casino cashout voucher $130, seized from Thomas Lamb on

 3                    May 2, 2011;

 4               151) a Kindle Fire HD, new in box, no visible serial number, seized from Michael

 5                    Lofton on January 7, 2013;

 6               152) an Apple iPad with docking station and case, new in box, no visible serial

 7                    number, seized from Michael Lofton on January 31, 2013;

 8               153) a Sony USB drive, seized from Michael Lofton on February 1, 2013;

 9               154) an Epson Stylus printer, model R280, bearing serial number K77K133745,

10                    seized from Edward Montecalvo on March 15, 2012;

11               155) an HTC smart phone, model PD42100, bearing serial number

12                    HT18RM803892, seized from Edward Montecalvo on March 15, 2012;

13               156) a Canon Point and Shoot camera, model PC1355, bearing serial number

14                    9029238287, seized from Edward Montecalvo on March 15, 2012;

15               157) a Dell Inspiron desktop, bearing serial number CN-0392R8-74767-116-6RE3,

16                    seized from Edward Montecalvo on March 15, 2012;

17               158) a Dell thumb drive, bearing serial number 820-Q01437, seized from Edward

18                    Montecalvo on March 15, 2012;

19               159) a Toshiba external hard drive with USB cable, bearing serial number

20                    Y150T6QLTMC3, seized from Edward Montecalvo on March 15, 2012;

21               160) an Apple MacBook Pro, model A1278, bearing serial number

22                    C1MH18UPDV13, seized from Edward Montecalvo on March 15, 2012;

23               161) an Apple laptop, bearing serial number 970AAS306856, seized from Elias

24                    Samaha on June 11, 2012;

25               162) a Sony Vaio laptop, bearing serial number 275047363033747, seized from

26                    Elias Samaha on June 11, 2012;

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 1               163) an iPhone, BB 8350, bearing serial number 403215EBBB, seized from Elias

 2                    Samaha on June 11, 2012;

 3               164) a Motorola BK70 phone, bearing serial number 364VKMR6Q9, seized from

 4                    Elias Samaha on June 11, 2012;

 5               165) an Apple iPod 64 GB, model A1318, bearing serial number 9C937ETU6K4,

 6                    seized from Elias Samaha on June 11, 2012;

 7               166) a PNY 4 GB with two (2) keys thumb drive, seized from Elias Samaha on

 8                    June 11, 2012;

 9               167) a SanDisk Cruzer 32 GB thumb drive, seized from Elias Samaha on June 11,

10                    2012;

11               168) an Apple MacBook, model A1181, bearing serial number 4H6502XZWGL,

12                    seized from Michael San Clemente on June 2, 2010;

13               169) a Sony Vaio laptop, model PCG-31L, bearing serial number 064253C, seized

14                    from Michael San Clemente on June 2, 2010;

15               170) a Kingston 8 GB data traveler, black, seized from Michael San Clemente on

16                    June 2, 2010;

17               171) an Apple MacBook Pro, model A1260, bearing serial number

18                    W880957VYJY, seized from Michael San Clemente on June 2, 2010;

19               172) an Apple MacBook Pro, model A1211, bearing serial number

20                    W871645TWDH, seized from Michael San Clemente on June 2, 2010;

21               173) an HP Pavilion laptop computer, bearing serial number CND9074VOP, seized

22                    from Michael San Clemente on June 2, 2010;

23               174) an Apple MacBook Pro PN, bearing part number 0A58927, seized from

24                    Michael San Clemente on June 2, 2010;

25               175) a 320 GB PN, bearing part number 9ZAZAG-500 with cord in bag, 154594A,

26                    seized from Michael San Clemente on June 2, 2010;

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 1               176) a pocket drive, model GFR202SD, bearing serial number 605USS, seized

 2                    from Michael San Clemente on June 2, 2010;

 3               177) an HP Pavilion TX2500, bearing serial number CNF826324F, seized from

 4                    Michael San Clemente on June 2, 2010;

 5               178) a Kodak Easy Share printer, dock series 3, bearing serial number

 6                    KCLEG620J0824, seized from Michael San Clemente on June 2, 2010;

 7               179) a Sony DVD player, black, model DVP-FX820, bearing serial number 08C

 8                    501-5205314-6, seized from Michael San Clemente on June 2, 2010;

 9               180) a T-Mobile CardBus and Express Card adapter, model CBZEC, bearing serial

10                    number BD3G710242, seized from Michael San Clemente on June 2, 2010;

11               181) an IEEE 1394 express card, bearing serial number 11814008945, seized from

12                    Michael San Clemente on June 2, 2010;

13               182) a SanDisk Cruzer 4 GB thumb drive, black, model SDC264096RB, seized

14                    from Michael San Clemente on June 2, 2010;

15               183) an HP wireless mouse adapter, silver, product GT909AA, seized from

16                    Michael San Clemente on June 2, 2010;

17               184) a SanDisk “Wake up the Phone” adapter, model 2008-09-16S, seized from

18                    Michael San Clemente on June 2, 2010;

19               185) a Novotel wireless slingshot, bearing serial number 5B866BF6, seized from

20                    Michael San Clemente on June 2, 2010;

21               186) an iPod 8 GB with red/black cover, bearing serial number 9C841ZSQ201,

22                    seized from Michael San Clemente on June 2, 2010;

23               187) a Motorola Verizon phone, blue, bearing FCC ID number IHDT56JB1, seized

24                    from Michael San Clemente on June 2, 2010;

25               188) a Kyocera Virgin Mobile phone, black, bearing ME ID number

26                    A0000004482B79, seized from Michael San Clemente on June 2, 2010;

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 1               189) a Motorola phone, bearing FCC ID number 1HDT56HC1, seized from

 2                    Michael San Clemente on June 2, 2010;

 3               190) a Virgin Mobile LG phone with pouch, bearing serial number

 4                    901CYXM0778698, seized from Michael San Clemente on June 2, 2010;

 5               191) a Motorola Metro phone, model W315, bearing FCC ID number

 6                    1HDT56GE1, seized from Michael San Clemente on June 2, 2010;

 7               192) a Motorola phone, black, bearing serial number M300 238208, seized from

 8                    Michael San Clemente on June 2, 2010;

 9               193) a Motorola phone, blue, bearing serial number M60038Z2495, seized from

10                    Michael San Clemente on June 2, 2010;

11               194) a Sprint HTC Pro with black hard cover, seized from Michael San Clemente

12                    on June 2, 2010;

13               195) a hard drive, bearing serial number 5QD2ZXWG, seized from Michael San

14                    Clemente on June 2, 2010;

15               196) two (2) SanDisk Cruzer 4 GB Titanium Plus, seized from Michael San

16                    Clemente on June 2, 2010;

17               197) a Targus high speed card reader/writer, black, bearing identification number

18                    1729, seized from Michael San Clemente on June 2, 2010;

19               198) two (2) Sony Memo stick duo adapters, MSAC M2, seized from Michael San

20                    Clemente on June 2, 2010;

21               199) a Patriot memory card, bearing serial number PSD32G106625, seized from

22                    Michael San Clemente on June 2, 2010;

23               200) a Samsung memory card, bearing serial number M470T6554CZ3, seized from

24                    Michael San Clemente on June 2, 2010;

25               201) an Elpide memory card, bearing serial number EBJ21UE8BAU0, seized from

26                    Michael San Clemente on June 2, 2010;

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 1               202) a memory card, bearing serial number HY564T 1Z80Z 1 HDL, seized from

 2                    Michael San Clemente on June 2, 2010;

 3               203) a PNY memory card bearing serial number 511-071205051, seized from

 4                    Michael San Clemente on June 2, 2010;

 5               204) a SanDisk 1 GB chip, seized from Michael San Clemente on June 2, 2010;

 6               205) a Garmin Nuvi and adapter, 10R-023994, seized from Michael San Clemente

 7                    on June 2, 2010;

 8               206) a Rocketfish external hard drive, bearing serial number E391854HH, seized

 9                    from Michael San Clemente on June 2, 2010;

10               207) a Toshiba disk drive, bearing serial number 58QUFB2ES, seized from

11                    Michael San Clemente on June 2, 2010;

12               208) a Sony Super Steady Shot DSCT70, seized from Michael San Clemente on

13                    June 2, 2010;

14               209) a SanDisk 128 MB SD card, seized from Michael San Clemente on June 2,

15                    2010;

16               210) a Sony memory stick Pro Duo 2 GB, seized from Michael San Clemente on

17                    June 2, 2010;

18               211) a Fuji Film Quick Snap camera, disposable, seized from Michael San

19                    Clemente on June 2, 2010;

20               212) a Kodak memory card, seized from Michael San Clemente on June 2, 2010;

21               213) a Kodak HD camera, M-1003, red, seized from Michael San Clemente on

22                    June 2, 2010;

23               214) a Kodak Easy Share V610 camera, bearing serial number KCKFV62501809,

24                    seized from Michael San Clemente on June 2, 2010;

25               215) a Nikon Cool Pix S60 camera, with SanDisk 4 GB SDHC card, bearing serial

26                    number 38244004, seized from Michael San Clemente on June 2, 2010;

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 1                216) a JVC hard disk camcorder Everio, bearing serial number GZ-MG130U,

 2                     seized from Michael San Clemente on June 2, 2010;

 3                217) a Dell XPS laptop computer with power cord, bearing service tag number

 4                     6MQ12C1, seized from Michael San Clemente on June 2, 2010;

 5                218) an Apple Power Mac G5 desktop tower, model A1L77, seized from Michael

 6                     San Clemente on June 2, 2010;

 7                219) a Pro-Lam Plus 330 laminator, bearing serial number 2080, seized from

 8                     Michael San Clemente on June 2, 2010;

 9                220) an HP Photosmart C 6880 wireless printer with power cord, bearing FCC ID

10                     number B94RSVLD0608, seized from Michael San Clemente on June 2,

11                     2010;

12                221) an Apple keyboard, KY63201A6VZSA, seized from Michael San Clemente

13                     on June 2, 2010;

14                222) an Apple computer mouse, ZH503DJEMNUVA, seized from Michael San

15                     Clemente on June 2, 2010;

16                223) a Zebra P330I card printer, bearing serial number P33027189, seized from

17                     Michael San Clemente on June 2, 2010;

18                224) an enhanced CCD scanner, bearing serial number 428DOFB00018, seized

19                     from Michael San Clemente on June 2, 2010;

20                225) an HP Office Jet H470 Vivera printer, bearing serial number CN81L181CW,

21                     seized from Michael San Clemente on June 2, 2010;

22                226) a Kwikpoint model 55 foil stamping machine, bearing serial number 5A-5311,

23                     seized from Jermaine Smith on March 15, 2012;

24                227) a Samsung Metro PCS cell phone, black, bearing serial number

25                     268435460707424949, seized from Jermaine Smith on March 15, 2012;

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 1               228) a Dell Inspiron N4110 laptop computer, bearing serial number 00196-177-

 2                    074-980, seized from Jermaine Smith on March 15, 2012;

 3               229) a Samsung Metro PCS cell phone, black, bearing serial number

 4                    268435460709180401, seized from Jermaine Smith on March 15, 2012;

 5               230) a Toho manual tipper, model CM-30, bearing serial number A992221, seized

 6                    from Jermaine Smith on March 15, 2012;

 7               231) a Fargo HDP 5000 high definition ID card printer, model 089000, bearing

 8                    serial number A9061333, seized from Jermaine Smith on March 15, 2012;

 9               232) a Fargo HDP 5000 high definition ID card printer, model 089000, bearing

10                    serial number A9500654, seized from Jermaine Smith on March 15, 2012;

11               233) a Zebra ID card printer, model P330I, bearing serial number P330036588,

12                    seized from Jermaine Smith on March 15, 2012;

13               234) two (2) Apple iPads, new in box, bearing serial numbers DLXG7NVXDKNY

14                    and DN6GKB19DFHW, seized from Jermaine Smith on March 15, 2012;

15               235) a Samsung Metro PCS cell phone, bearing serial number

16                    268435458906307984, seized from Jermaine Smith on March 15, 2012;

17               236) a Kyocera PCS cell phone, bearing serial number A0000012F289B6, seized

18                    from Jermaine Smith on March 15, 2012;

19               237) a T-Mobile blackberry cell phone, PIN 21FCDD3A, seized from Jermaine

20                    Smith on March 15, 2012;

21               238) an Apple laptop with case, bearing serial number W80231Q46D6, seized from

22                    Billy Steffey on December 20, 2010;

23               239) an iPad 64 GB with cover, bearing serial number V5029062E5V, seized from

24                    Billy Steffey on December 20, 2010;

25               240) an iPad 64 GB, (new in box), bearing serial number 6B039FHQETV, seized

26                    from Billy Steffey on December 20, 2010;

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 1               241) and Iron Key thumb drive, seized from Billy Steffey on December 20, 2010;

 2               242) a T-Mobile USB WiFi device, silver, bearing IMEI number

 3                    352071040691797, seized from Billy Steffey on December 20, 2010;

 4               243) a Sprint 3G WiFi device, bearing ESN 6097D1CF, seized from Billy Steffey

 5                    on December 20, 2010;

 6               244) a Garmin GPS device, bearing serial number 37901W6022267, seized from

 7                    Billy Steffey on December 20, 2010;

 8               245) an iPhone 4, black, bearing CC ID number BCGE2380A, seized from Billy

 9                    Steffey on December 20, 2010;

10               246) a Google HTC cell phone, bearing serial number HT9CNP810133, seized

11                    from Billy Steffey on December 20, 2010;

12               247) an iPod with case, silver with red case, bearing serial number 1A949JGM6K2,

13                    seized from Billy Steffey on December 20, 2010;

14               248) an Apple All in One computer, silver, bearing serial number W89525865PJ,

15                    seized from Billy Steffey on March 15, 2012;

16               249) a Datacard I150 printer, bearing serial number 9037, seized from Billy Steffey

17                    on March 15, 2012;

18               250) a USB Iron Key, bearing serial number 00885866, seized from Billy Steffey

19                    on March 15, 2012;

20               251) a USB T-Mobile, silver, seized from Billy Steffey on March 15, 2012;

21               252) a USB Elgato Turbo 264 HD, seized from Billy Steffey on March 15, 2012;

22               253) a Tom Tom GPS, bearing serial number JB1448103895, seized from Billy

23                    Steffey on March 15, 2012;

24               254) a Samsung Verizon WiFi Hotspot 4G LTE, bearing SKU SCHLC11ZKV,

25                    seized from Billy Steffey on March 15, 2012;

26               255) a USB SanDisk Cruzer, seized from Billy Steffey on March 15, 2012;

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 1                     256) a Sony Vaio laptop, bearing serial number 5413136230011OB, seized from

 2                          Billy Steffey on March 15, 2012;

 3                     257) a T-Mobile HTC smartphone, black, bearing serial number SH175T505773,

 4                          seized from Billy Steffey on March 15, 2012;

 5                     258) a Western Digital external hard drive, bearing serial number

 6                          WX20C79714112, seized from Billy Steffey on March 15, 2012;

 7                     259) a Western Digital external hard drive, bearing serial number

 8                          WCAVY1065850, seized from Billy Steffey on March 15, 2012;

 9                     260) a Lacie external hard drive, bearing serial number 14181109010201EHB,

10                          seized from Billy Steffey on March 15, 2012;

11                     261) a USB Iron Key, bearing serial number 00804208, seized from Billy Steffey

12                          on March 15, 2012;

13                     262) a USB SanDisk, seized from Billy Steffey on March 15, 2012;

14                     263) a Sprint WiFi Hotspot, Novatel, silver, bearing serial number 09111989175,

15                          seized from Billy Steffey on March 15, 2012;

16                     264) a Clear WiFi Hotspot, black, model number WIXFMM-122, bearing serial

17                          number 2044100085687, seized from Billy Steffey on March 15, 2012;

18                     265) an AT&T Microcell, bearing serial number 0022CE-0000166132, seized from

19                          Billy Steffey on March 15, 2012;

20                     266) a MacBook Pro laptop in black case, bearing serial number

21                          C02GN0M6DW47, seized from Billy Steffey on March 15, 2012; and

22                     267) a Mac external hard drive, bearing serial number 6F9031E32UP, seized from

23                          Billy Steffey on March 15, 2012

24 (all of which constitutes “property”); and
25           that the United States recover from JERMAINE SMITH the criminal forfeiture money

26 judgment in the amount of $50,893,166.35 in United States Currency, held jointly and severally liable

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 1 with any codefendants, and that the property will not be applied toward the payment of the money

 2 judgment; and

 3           the property and the money judgment are forfeited pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)

 4 and (B); Fed. R. Crim. P. 32.2(c)(2); Title 18, United States Code, Section 1963(a)(1), (a)(2), (a)(3),

 5 (l)(7), and (m); that the criminal forfeiture money judgment shall be collected; and that the property

 6 and the collected amount shall be disposed of according to law.

 7 SUBSTITUTION - $789.98, $118,734.08, $672.95, AND $817.16

 8           On July 15, 2015, the United States filed a Motion to Substitute and to Forfeit Property of

 9 Jermaine Smith (ECF No. 1024) (“Motion to Substitute”) to be used towards satisfaction of his

10 criminal forfeiture money judgment. On August 4, 2015, the United States District Court for the

11 District of Nevada granted the Substitution and Forfeiture Order (ECF No. 1028) authorizing the

12 substitution and forfeiture of the following property pursuant to Fed. R. Crim. P. 32.2(e) and Title 18,

13 United States Code, Section 1963(m):

14                     1) $789.98;

15                     2) $118,734.08;

16                     3) $672.95;

17                     4) $817.16; and

18                     5) any and all assets held by Columbian Mutual Life Insurance Company, Asset

19                         Number 6155072, in the name of Jermaine A. Smith.

20          The United States Secret Service (“USSS”) seized, arrested, and took into custody the $789.98,

21 $118,734.08, $672.95, and $817.16 in United States Currency. Notice of Filing Service of Process –

22 Take into Custody, ECF No. 1053. The USSS continued to attempt to locate any and all assets held by

23 Columbian Mutual Life Insurance Company, Asset Number 6155072, in the name of Jermaine A.

24 Smith.
25           The United States published the notice of forfeiture of substitute assets in accordance with the

26 law via the official government internet forfeiture site, www.forfeiture.gov, consecutively from

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 1 August 8, 2015, through September 6, 2015, notifying all potential third parties; and notified known

 2 third parties by regular and certified return receipt requested mail or personal service, of their right to

 3 petition the Court. Notice of Filing Proof of Publication, ECF No. 1055.

 4          On September 17, 2015, Bob Doherty, New Jersey State President, Bank of America New

 5 Jersey, 250 Talmadge Rd., Edison, New Jersey 08817, was served by regular and certified return

 6 receipt requested mail with the Notice, Motion to Substitute, and the Substitution and Forfeiture Order.

 7 Notice of Filing Service of Process Regarding Substitute Property – Certified Mail and Regular Mail

 8 completed by the United States Attorney’s Office, ECF No. 1076.

 9          On September 17, 2015, Ann Limberg, President, Bank of America New Jersey, Bank of

10 America, N.A., 301 Carnegie Center, Princeton, New Jersey 08543, was served by regular and

11 certified return receipt requested mail with the Notice, Motion to Substitute, and the Substitution and

12 Forfeiture Order. ECF No. 1076.

13          On September 17, 2015, Visa Inc., 900 Metro Center Blvd., Foster City, California 94404, was

14 served by regular and certified return receipt requested mail with the Notice, Motion to Substitute, and

15 the Substitution and Forfeiture Order. ECF No. 1076.

16          On September 17, 2015, MasterCard, 2000 Purchase Street, Purchase, New York 10577, was

17 served by regular and certified return receipt requested mail with the Notice, Motion to Substitute, and

18 the Substitution and Forfeiture Order. ECF No. 1076.

19           On September 17, 2015, Michael Cassell, Discover Financial Service, 9533 Tournament

20 Canyon, Las Vegas, Nevada 89144, was served by regular and certified return receipt requested mail

21 with the Notice, Motion to Substitute, and the Substitution and Forfeiture Order. ECF No. 1076.

22          On September 17, 2015, American Express, World Financial Center, 200 Vessey Street, New

23 York, New York 10285, was served by regular and certified return receipt requested mail with the

24 Notice, Motion to Substitute, and the Substitution and Forfeiture Order. ECF No. 1076.
25          On September 21, 2015, the USSS personally served Jermaine Smith at Federal Correctional

26 Institution La Tuna with copies of the Notice, Motion to Substitute, and the Substitution and Forfeiture

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 1 Order. Notice of Filing Service of Process Regarding Substitute Property – Personal Service, ECF No.

 2 1070.

 3          The USSS never located any assets held by Columbian Mutual Life Insurance Company, Asset

 4 Number 6155072, in the name of Jermaine A. Smith. The United States filed a Notice that its Interests

 5 and Rights have expired in that particular property listed in the Substitution and Forfeiture Order

 6 pursuant to Title 21, United States Code, Section 1963(f). Notice of Interest Expired, ECF No. 1092.

 7           This Court finds no petition was filed herein by or on behalf of any person or entity and the

 8 time for filing such petitions and claims has expired.

 9           This Court finds no petitions are pending with regard to the assets named herein and the time

10 for presenting such petitions has expired.

11           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

12 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

13 United States of America, and that the United States recover from JERMAINE SMITH the criminal

14 forfeiture money judgment in the amount of $50,893,166.35 in United States Currency, pursuant to

15 Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(c)(2); Title 18, United States Code,

16 Section 1963(a)(1), (a)(2), (a)(3), (l)(7), and (m) and shall be disposed of according to law:

17                      1) $789.98;

18                      2) $118,734.08;

19                      3) $672.95; and

20                      4) $817.16

21 which will be applied towards the criminal forfeiture money judgment of $50,893,166.35 in United

22 States Currency.

23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

24 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any
25 income derived as a result of the United States of America’s management of any property forfeited

26 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies of

 2 this Order to all counsel of record and three certified copies to the United States Attorney’s Office,

 3 Attention Daniel D. Hollingsworth, Asset Forfeiture Unit.

 4         Dated:
           DATEDOctober
                  this ___ 27,
                           day 2015.
                               of ______________, 2015.

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 7                                                UNITED
                                                   NIT
                                                    I ED STATES DISTRICT JUDGE
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